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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE: Randy Jay Spencer,           :                 Case No. 24-10166-JCM
                                     :
             Debtor.                 :                 Chapter 13
 ____________________________________:
       Randy Jay Spencer,            :
                                     :                 Document No.:
             Movant,                 :
                                     :                 Related Document No.:
                     v.              :
                                     :                 Related Claim No.: 3
       Galaxy Federal Credit Union,  :
                                     :
             Respondent.             :


         ORDER GRANTING OBJECTION TO PROOF OF CLAIM NO. 3


        On this _____ day of ____________, 2024, this matter being before the Court on

 Debtor’s Objection to Proof of Claim No. 3, for the reasons stated in the Objection, or by

 default for Claimant’s failure to respond, it is hereby ORDERED that Debtor's Objection

 to Proof of Claim No. 3 of Galaxy Federal Credit Union is sustained, and Respondent’s

 Proof of Claim No. 3 is disallowed in its entirety.


 Date:_________________                                ______________________________
                                                       United States Bankruptcy Judge
